                                           Case 3:23-cv-04013-JCS          Document 85      Filed 01/08/25      Page 1 of 3




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                                   5                                   UNITED STATES DISTRICT COURT

                                   6                                  NORTHERN DISTRICT OF CALIFORNIA

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                                           SHERRILL FARRELL, et al.,
                                   8                                                         Case No. 23-cv-04013-JCS
                                                        Plaintiffs,
                                   9                                                         ORDER GRANTING MOTION FOR
                                                  v.                                         CONDITIONAL CLASS
                                  10                                                         CERTIFICATION, PRELIMINARY
                                           UNITED STATES DEPARTMENT OF                       APPROVAL OF CLASS ACTION
                                  11       DEFENSE, et al.,                                  SETTLEMENT, AND REASONABLE
                                                                                             ATTORNEYS’ FEES AND COSTS
                                  12                    Defendants.
Northern District of California
 United States District Court




                                  13                                                         Re: Dkt. No. 82

                                  14

                                  15           Presently before the Court is Plaintiffs’ motion for conditional class certification,

                                  16   preliminary approval of the class action settlement and reasonable attorneys’ fees and costs

                                  17   (“Motion”). Defendants have filed a statement of nonopposition and further request that the Court

                                  18   consider this matter submitted on the papers for immediate determination without hearing. Dkt.

                                  19   no. 84. The Court has reviewed the memorandum and declarations filed in support of the Motion,

                                  20   the Settlement Agreement and proposed Class Notice, and relevant filings in the case and finds

                                  21   that the Motion is suitable for determination without oral argument. Therefore, the Court vacates

                                  22   the motion hearing noticed for February 12, 2025 pursuant to Civ.L.R. 7-1(b). Good cause

                                  23   appearing, the Court GRANTS the Motion.1 Pursuant to Federal Rule of Civil Procedure 23, the

                                  24   Court conditionally certifies the Settlement Class and preliminarily approves the class action

                                  25   settlement, and finds as follows:

                                  26   1) The Court will likely be able to certify the proposed class for the purposes of settlement, and

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                                  28    The parties have consented to the jurisdiction of a United State magistrate judge pursuant to 28
                                       U.S.C. § 636(c).
                                        Case 3:23-cv-04013-JCS          Document 85          Filed 01/08/25     Page 2 of 3




                                   1      conditionally certifies the Settlement Class, defined as:

                                   2                  Veterans of the United States Army, Navy, Air Force, and Marine
                                                      Corps who were administratively separated prior to September 20,
                                   3                  2011, and whose most recent Service separation document shows
                                                      their basis for discharge was sexual orientation, homosexual conduct,
                                   4                  homosexual admission, homosexual marriage, similar language, or a
                                                      policy title or number signifying separation for sexual orientation.
                                   5

                                   6   2) Plaintiffs have demonstrated that the proposed class is so numerous that joinder is impractical,

                                   7      satisfying Rule 23(a)(1); that there are questions of law and fact common to the proposed

                                   8      class, satisfying Rule 23(a)(2); and that a class action is superior to other available means of

                                   9      adjudicating this dispute.

                                  10   3) Named Plaintiffs Sherrill Farrell, James Gonzales, Jules Sohn, and Lilly Steffanides have

                                  11      demonstrated that their claims are typical of those of the class, satisfying Rule 23(a)(3), and

                                  12      that they will fairly and adequately represent the class, satisfying Rule 23(a)(4). Accordingly,
Northern District of California
 United States District Court




                                  13      the Court appoints Sherrill Farrell, James Gonzales, Jules Sohn, and Lilly Steffanides as Class

                                  14      Representatives.

                                  15   4) Pursuant to Federal Rule of Civil Procedure 23(g), the Court appoints Impact Fund, Legal Aid

                                  16      at Work, King & Spalding LLP, and Haynes and Boone, LLP as Class Counsel for the

                                  17      Settlement Class.

                                  18   5) The Court will likely be able to approve the proposed settlement as fair, reasonable, and

                                  19      adequate under Federal Rule of Civil Procedure 23(e)(2), including its provisions for

                                  20      appropriate class notice and reasonable attorneys’ fees and costs. The Court authorizes

                                  21      provision of class notice as set forth in the Settlement Agreement. The proposed notice

                                  22      attached to the Settlement Agreement is approved subject to the following modifications,

                                  23      which are entirely nonsubstantive:

                                  24          •   The notice shall reflect that a hearing on entry of final approval of the settlement and

                                  25              an award of fees and expenses to Class Counsel (“the Fairness Hearing”) will be

                                  26              conducted on March 12, 2025 at 9:30 a.m. in Phillip Burton Federal Building &

                                  27              United States Courthouse, Courtroom B, 15th Floor, 450 Golden Gate Ave., San

                                  28              Francisco, CA 94102. The notice will further reflect that the Fairness Hearing will be
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                                        Case 3:23-cv-04013-JCS          Document 85        Filed 01/08/25     Page 3 of 3




                                   1              live-streamed via Zoom, for the purposes of observing only, using the following

                                   2              credentials: Webinar ID 161 926 0804; Password: 050855.

                                   3          •   Pursuant to Paragraph 26 of the Settlement Agreement, the notice shall reflect that any

                                   4              Class Member objections sent to the Court must be received by the Clerk’s Office by

                                   5              February 19, 2025. Objections that are mailed to the Court should be sent to the

                                   6              following address:

                                   7                 Clerk’s Office
                                                     United States District Court for the Northern District of California
                                   8                 16th Floor, 450 Golden Gate Avenue
                                                     San Francisco, CA 94102-3489
                                   9
                                                     Attn: Case No. 23-cv-4013-JCS
                                  10

                                  11   6) Any responses to Class Member objections shall be filed by February 26, 2025.

                                  12   7) Plaintiffs’ Motion for Final Approval and Motion for Award of Attorneys’ Fees and Costs
Northern District of California
 United States District Court




                                  13      shall be filed by February 12, 2025.

                                  14      IT IS SO ORDERED.

                                  15

                                  16   Dated: January 8, 2025

                                  17                                                  ______________________________________
                                                                                      JOSEPH C. SPERO
                                  18                                                  United States Magistrate Judge
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